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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

___________________________________
                                    )
MARGARET AND EDWARD                 )                Case Number
VARLEY, h/w                         )
                                    )
            Plaintiff               )
                                    )                CIVIL COMPLAINT
            vs.                     )
                                    )
ATLANTIC ADVISORS, INC.             )
                                    )                JURY TRIAL DEMANDED
            Defendant               )
___________________________________ )



                         COMPLAINT AND JURY DEMAND

       COMES NOW, Plaintiffs, Margaret and Edward Varley, h/w, by and through

their undersigned counsel, Bruce K. Warren, Esquire and Brent F. Vullings, Esquire of

Warren & Vullings, LLP, complaining of Defendant, and respectfully avers as follows:



                         I. INTRODUCTORY STATEMENT

       1.      Plaintiffs, Margaret and Edward Varley, h/w are adult natural persons and

brings this action for actual and statutory damages and other relief against Defendant for

violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

(“FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and

unfair practices.

                                  II. JURISDICTION

       2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1337.
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       3.      Venue in this District is proper in that the Plaintiffs reside in this District

and Defendant maintains an office in this District.



                                      III. PARTIES

       4.      Plaintiffs, Margaret and Edward Varley, h/w, are adult natural persons

residing at 11 Carroll Avenue, Tuckerton, NJ 08087. At all times material and relevant

hereto, Plaintiffs are “consumers” as defined by the FDCPA, 15 U.S.C. § 1692a (2).

       5.      Defendant, Atlantic Advisors, Inc. (“Defendant”), at all times relevant

hereto, is and was a corporation engaged in the business of collecting debt within the

State of New Jersey with its principal place of business located at 710 Mattison Ave,

Asbury Park, NJ 07712.

       6.      Defendant is engaged in the collection of debts from consumers using the

telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6).



                           IV. FACTUAL ALLEGATIONS

       7.      In or around September 2010, the Plaintiff, Edward began receiving phone

calls from Defendant regarding a utility bill due to New Jersey Natural Gas.

       8.      The Plaintiff, Edward was away on vacation when the first call by

Defendant was made to his place of employment. The Plaintiff, Edward’s boss answered

the phone call and was told by Defendant that Defendant was calling in regard to a

“personal matter.”
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       9.      The Plaintiff, Edward’s boss gave Defendant the Plaintiff, Edward’s home

phone number and told Defendant not to call the Plaintiff, Edward’s place of

employment.

       10.     The Plaintiff, Edward was then reprimanded by his boss upon the Plaintiff,

Edward’s return.

       11.     Defendant then began contacting the Plaintiffs on their home phone

number leaving messages for the Plaintiffs stating that the call was regarding a “personal

matter.”

       12.     During a conversation with Defendant, the Plaintiff, Margaret was asked

to make monthly payments of $100.00 but the Plaintiff, Margaret told Defendant that the

Plaintiffs could not afford that amount.

       13.     Defendant eventually agreed to allow the Plaintiffs to make monthly

payments of $50.00.

       14.     In or around October 2010, the Plaintiffs made their first payment to

Defendant in the amount of $50.00.

       16.     On or around November 1, 2010, the Plaintiffs received a letter in the mail

from Defendant thanking the Plaintiffs for their recent payment and a bill for the next

month. See Exhibit “A” attached hereto.

       17.     The Plaintiff, Margaret contacted Defendant upon receiving the bill and

informed Defendant that the Plaintiffs will be unable to afford the next month’s payment

of $50.00 due to a loss of income.

       18.     The Plaintiff, Margaret told Defendant that the Plaintiffs will only be able

to make a maximum payment of $25.00.
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          19.   Defendant again contacted the Plaintiff, Edward’s place of employment

after specifically being told not to do so.

          20.   The Plaintiff, Margaret sent the bill back to Defendant and on the reverse

side wrote that the Plaintiffs can only afford $25.00 a month, a request that Defendant

stop contacting the Plaintiff, Edward’s place of employment and to only call the home

phone number in which the Plaintiff, Margaret provided. See Exhibit “B” attached

hereto.

          21.   Defendant continues to contact the Plaintiffs at least twice a day.

          22.   On or around November 22, 2010, Defendant’s agent, “Ms Williams”

contacted the Plaintiffs’ home in which the Plaintiffs’ daughter answered.

          23.   The Plaintiffs’ daughter told Defendant’s agent that the Plaintiffs were

unavailable at which point Defendant’s agent proceeded in telling the Plaintiffs’ daughter

that Defendant was “calling in regard to an old bill due to New Jersey Natural Gas” and

that the Plaintiff, Margaret needs to call Defendant back.

          24.   The Plaintiff, Margaret was embarrassed that Defendant told the Plaintiffs’

daughter that the Plaintiffs owe money.

          25.   The Plaintiffs are upset by the fact that Defendant would divulge personal

information to anyone who answered the Plaintiffs’ phone.

          26.   Defendant continues to relentlessly contact the Plaintiffs, leaving

messages on the Plaintiffs’ answering machine requesting a payment.

          27.   The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and
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their agent’s actions within compliance of the FDCPA, but neglected to do so and failed

to adequately review those actions to insure compliance with the law.

       28.     At all times pertinent hereto, Defendant was acting by and through it

agents, servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

       29.     At all times pertinent hereto, the conduct of Defendant as well as its

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

and in wanton disregard for federal and state law and the rights of the Plaintiffs herein.

       30.     As a result of Defendant’s conduct, Plaintiffs have sustained actual

damages, including, but not limited to, injury to Plaintiffs’ reputation, invasion of

privacy, damage to Plaintiffs’ credit, out-of-pocket expenses, physical, emotional and

mental pain and anguish and pecuniary loss and she will continue to suffer same for an

indefinite time in the future, all to her great detriment and loss.

       31.     The Plaintiff has suffered and continues to suffer actual damages as a

result of the Defendant’s unlawful conduct.

       32.     As a direct consequence of the Defendant’s acts, practices and conduct,

the Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional

distress, fear, frustration and embarrassment.

       33.     The Defendant’s conduct was so outrageous in character, and so extreme

in degree, as to go beyond all possible bounds of decency, and to be regarded as

atrocious, and utterly intolerable in a civilized community.
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                                   COUNT I – FDCPA

       34.     The above paragraphs are hereby incorporated herein by reference.

       35.     At all times relevant hereto, Defendant was attempting to collect an

alleged debt which was incurred by the Plaintiffs for personal, family or household

purposes and is a “debt” as defined by 15 U.S.C. § 1692a(5).

       36.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of:

               §§ 1692b(1):            Contact of Third Party: Failed to identify

                                       themselves, or failed to state that collector is

                                       confirming or correcting location information

               §§ 1692b(3):            Contact of Third Party: Contacted a person more

                                       than once, unless requested to do so

               §§ 1692c(a)(3):         At place of employment when knows that the

                                       employer prohibits such communications

               §§ 1692c(b):            With anyone except consumer, consumer’s

                                       attorney, or credit bureau concerning the debt

                §§ 1692d:              Any conduct the natural consequence of which is to

                                       harass, oppress, or abuse any person

               §§ 1692d(2):            Profane language or other abusive language

               §§ 1692d(5):            Caused the phone to ring or engaged any person in

                                       telephone conversations repeatedly
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               §§ 1692e:               Any other false, deceptive, or misleading

                                       representation or means in connection with the debt

                                       collection

               §§ 1692f:               Any unfair or unconscionable means to collect or

                                       attempt to collect the alleged debt

       WHEREFORE, Plaintiffs respectfully prays that judgment be entered against the

Defendant, Atlantic Advisors, Inc. for the following:

       a.      Actual damages;

       b.      Statutory damages pursuant to 15 U.S.C. § 1692k;

       c.      Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

       d.      Such additional and further relief as may be appropriate or that the

               interests of justice require.



                                   V. JURY DEMAND

       Plaintiffs hereby demand a jury trial as to all issues herein.

                                               Respectfully submitted,

                                               WARREN & VULLINGS, LLP

Date: December 6, 2010                         BY: /s/ Bruce K. Warren
                                               Bruce K. Warren, Esquire


                                               BY: /s/ Brent F. Vullings
                                               Brent F. Vullings, Esquire

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